I am unable to agree that this court should make a new contract for the parties and so change either the policy or the trust agreement as to substitute a new beneficiary. A man can have only one wife. If, while married, a man fraudulently and in violation of law, goes through a marriage ceremony with another woman, she does not become his wife, however innocent such woman may be of *Page 73 
any wrongdoing. She cannot inherit from the man who has wronged her or claim any benefits as his wife. Much is said in the opinion as to the wrong done to the innocent woman whom he purported to marry. Nothing is said about the wrong done to the lawful wife. To have her husband abandon her and then purport to marry another, and live in cohabitation with such other, was about as great a wrong as any man could inflict upon his wife. While there are some intimations that there may have been some unpleasant incidents in the Soper family life because of the husband's habits in using liquor to excess, there is nothing to show that the wife was in any way to blame.
The contract in this case designates the "wife" as the one to whom the money was to be paid. I am unable to construe this word to mean anyone else than the only wife of Soper then living.
Soper's suicide is readily explainable. He had committed two felonies in this state. One was bigamy and, assuming that the clerk of court did his duty, perjury was committed in obtaining a marriage license here. About two years before Soper's suicide his brother had discovered that he was alive and in Minneapolis. There was constant danger of his situation becoming known and being investigated. He was an educated man, had been a teacher in a commercial school, and was a good business man. He was fully aware of what he had been doing.
As to the trust company's liability, there are other questions in the case which I do not discuss. *Page 74 